                                                                                            v/ 1
                     Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 1 of 32 PageID#




                                                                                                 FILE!
  c
                                                                                               JAN -4 2010

                                                                                        CLERK, US DISTRICT COURT
                                                                                                NORFOLK, VA




f*JL   .,                -f—£>3t P-\-


            ~(>-r—   D



                                        j><L\




                                         ■s-~




                                                                          CLERK, U.S. DISTRICT COURT
                                                                                RICHMOND, VA




                                                             A\
      Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 2 of 32 PageID# 2
                             t\ V,   <
orw


v   'X
                  Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 3 of 32 PageID# 3




                                              <5
                 -s:
                       ^   fM-x}-«VT< -«V~4


  -jJ-vj



           Oi«^-*J-




           • o




• *>*




                           <■
     Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 4 of 32 PageID# 4




                                      1




**




                                      ""^'"N V< *^r




                                           j   Vi-
                 Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 5 of 32 PageID# 5



      C7—*-Nl-




           " "M




'>/    -




                                    ^                                     <L<L




                                                      J
     Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 6 of 32 PageID# 6




                         \   *5




              A




    -A




v




                                        J
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 7 of 32 PageID# 7




                              V       -"V*-iKi^"3<o
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 8 of 32 PageID# 8




                                                  ^v




             .* -=




                     j




                                                                              \
                                                                              t   -
, A S W-*^




                                ~- )




                         o V-
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 9 of 32 PageID# 9
                        -,.0,0.   v




                                  \




                           V
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 10 of 32 PageID# 10


                                  \


                                           ^v




                                       v
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 11 of 32 PageID# 11

                   i       i>£-£lfr\\ ■soots




                                               v=




                              n<f a   "\




                                      \




               j
               1




                       >
      Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 12 of 32 PageID# 12




                                 \?



                                      '-A ^S-



                                                       \    \ i-i«-Tj-




                                      J           <J>4<t-j}\




                       )   'is
vrs




                                                "> a   N.




                   /
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 13 of 32 PageID# 13
                                                ^

                                                <^~^




                                    xxf




                   J




                        J   "
          Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 14 of 32 PageID# 14




                                                \   j




                                                        \
                                      S'**-




                                            \



j'-"»%-




                            ■*   •^



                        J              V




                   "\




                                        ^
                   ■^
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 15 of 32 PageID# 15

                                                                      \




                                   \




                                    \

                                        \

                    )                   \




                                  \




                        J   T>af-a^s.   \




                                            \
       Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 16 of 32 PageID# 16




OV-J




                                                           )




                                                \
                                                                                                               ' O.
                                                                                      )
                                                                                                     v*-
                                                                                ta/
                                                                                                           '   Ql^^-
        "3 ^ A                                         i-^-S^^,.Q-*<"                 V
                       *)1aA        ~i
                                                                        "i <r-W*~^    ^
                 ^!.
                                  "\ -OT-^7*       \
                                                                                                -^ci<-4.
                                                                                          <M.
                                                                   ^
                           r .^                                           ^
^ ■»-» *A
    A.<v-i-w
                          )                    \
                                               \
                         j
                           \                           \
                          J
                                                           \
    Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 17 of 32 PageID# 17
  Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 18 of 32 PageID# 18




<s-<-
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 19 of 32 PageID# 19




              j       * 3^ v"4^1^




                                                               •a <m v^~




     f-< 5}       „
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 20 of 32 PageID# 20




                                           o —•>> ■




                                                      \ -
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 21 of 32 PageID# 21




       *




  v
      Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 22 of 32 PageID# 22

-■s




                                O-1
        Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 23 of 32 PageID# 23




           s   ».




"3 «■




 — 0 A
     Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 24 of 32 PageID# 24




                                                                              °*"i




-   -X
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 25 of 32 PageID# 25
      S -K^->f <3 -J




                                                                       -r   «-




                                                        V
 Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 26 of 32 PageID# 26




TS OA^S.'— -S"




                 "!• C




                                                                  6~    ir




                                                                             c «■--•■</
     Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 27 of 32 PageID# 27




                                        ■^




                                                                              "^ —\ vs




                                        5=3"




      oc-i




©V
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 28 of 32 PageID# 28




                                          ST13




                                                            "■   X
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 29 of 32 PageID# 29




                  ■=■*"}




                                                                         —   \




                   o -%, x. cj -icr     r




           |Oi.
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 30 of 32 PageID# 30
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 31 of 32 PageID# 31


                                              <r   *.-&—■ =5-3




                                      4 -> s -3




                       cj-is.'   >.
Case 2:10-cv-00005-RBS-FBS Document 1 Filed 01/04/10 Page 32 of 32 PageID# 32




                                                ■*.-*-*




            <=*%■




                              s   \
  ,--3. =3 r-i.-*
